           Case 2:21-mj-00454-EJY Document 20 Filed 11/22/21 Page 1 of 3




 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     MARGARET W. LAMBROSE
 3   Assistant Federal Public Defender
     Nevada State Bar No. 11626
 4   411 E. Bonneville, Ste. 250
     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
     (702) 388-6261/Fax
 6   Maggie_Lambrose@fd.org

 7   Attorney for Josue Ivan Orozco-Becerra

 8
                                 UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                             Case No. 2:21-mj-00454-EJY

12                  Plaintiff,                             STIPULATION TO CONTINUE
                                                           PRELIMINARY HEARING
13          v.
                                                           (Third Request)
14   JOSUE IVAN OROZCO-BECERRA,

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
18   Acting United States Attorney, and Jared Grimmer, Assistant United States Attorney, counsel
19   for the United States of America, and Rene L. Valladares, Federal Public Defender, and
20   Margaret W. Lambrose, Assistant Federal Public Defender, counsel for Josue Ivan Orozco-
21   Becerra, that the Preliminary Hearing currently scheduled on November 24, 2021, be vacated
22   and continued to a date and time convenient to the Court, but no sooner than sixty (60) days.
23          This Stipulation is entered into for the following reasons:
24          1.      A Waiver of Indictment, filing of an Information, Arraignment and Plea and
25   Sentencing hearing is currently scheduled for January 5, 2022.
26
            Case 2:21-mj-00454-EJY Document 20 Filed 11/22/21 Page 2 of 3




 1          2.      Defendant is incarcerated and does not object to a continuance.
 2          3.      Additionally, denial of this request for continuance could result in a
 3   miscarriage of justice.
 4          This is the third request for continuance filed herein.
 5          DATED this 19th day of November, 2021.
 6
 7    RENE L. VALLADARES                              CHRISTOPHER CHIOU
      Federal Public Defender                         Acting United States Attorney
 8
 9       /s/ Margaret W. Lambrose                        /s/ Jared Grimmer
      By_____________________________                 By_____________________________
10    MARGARET W. LAMBROSE                            JARED GRIMMER
      Assistant Federal Public Defender               Assistant United States Attorney
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
                                                      2
           Case 2:21-mj-00454-EJY Document 20 Filed 11/22/21 Page 3 of 3




 1                                UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                              Case No. 2:21-mj-00454-EJY
 4
                    Plaintiff,                              ORDER
 5
            v.
 6
     JOSUE IVAN OROZCO-BECERRA,
 7
                    Defendant.
 8
 9
10          Based    on     the    Stipulation   of    counsel    and   good   cause   appearing,

11   IT IS THEREFORE ORDERED that the Preliminary Hearing currently scheduled on

12   November 24, 2021 at the hour of 4:00 p.m., be vacated and continued to January 24, 2022

13   at the hour of 4:00 p.m., in a courtroom to be determined.

14          DATED this 22nd day of November, 2021.
15
16
                                                      UNITED STATES MAGISTRATE JUDGE
17
18
19
20
21
22
23
24
25
26
                                                        3
